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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

BARBARA A. KOCH,

       Plaintiff,

v.                                                        Case No: 8:17-cv-1981-T-30AEP

CREDENCE RESOURCE
MANAGEMENT, LLC,

       Defendant.


                                  ORDER OF DISMISSAL

       Before the Court is the Stipulation of Dismissal with Prejudice (Dkt. 12). Upon

review and consideration, it is

       ORDERED AND ADJUDGED as follows:

       1.     This case is dismissed with prejudice, each party to bear their own attorney’s

fees and costs.

       2.     All pending motions are denied as moot.

       3.     The Clerk is directed to close this case.

       DONE and ORDERED in Tampa, Florida, this 17th day of November, 2017.




Copies furnished to:
Counsel/Parties of Record
